                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

KEITH CAMPBELL                                 *
                                               *
       Plaintiff,                              *
                                               *
       v.                                      *       Case No. 8:16-cv-03820-PX
                                               *
J.C. PENNEY CORPORATION, INC.                  *
                                               *
       Defendant.                              *

 MOTION FOR LEAVE TO INTERVENE AND PROTECT ATTORNEY’S FEES AND
       COSTS FROM DISBURSEMENT BY THE COURT’S REGISTRY

       COMES NOW Keith W. Watters, former counsel for the Plaintiff and respectfully moves

this court to permit the court’s registry to disburse a portion of the settlement funds to pay

attorney’s fees in this matter. In support thereof, the Plaintiff asserts as follows:

       1.      During the Settlement Conference on August 29, 2017 the parties entered into a

settlement agreement to resolve all disputes asserted by the Plaintiff and a Stipulation of

Dismissal was filed.

       2.      On September 15, 2017 the Plaintiff directed undersigned counsel to file a Motion

to Withdraw Stipulation of Dismissal which was denied on September 18, 2017.

       3.      On October 3, 2017 undersigned counsel filed a Motion to Withdraw as counsel

which was granted by the Court on October 4, 2017.

       4.      On October 12, 2017 the Plaintiff filed a pro se Notice of Appeal.

       5.      Defendant J.C. Penney Corporation Inc. has moved this Court to allow it to

deposit with the Court’s Registry the settlement funds. Because the settlement agreement

included a Confidential Settlement Agreement the Defendant requested that it be permitted to




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file the Confidential Agreement under seal. The Defendant’s motion was granted on October 24,

2017.

        6.     In view of the foregoing undersigned counsel moves this Court to permit him to

intervene to protect his lien for legal services and costs pursuant to the Retainer Agreement

attached hereto as Exhibit 1.

        7.     Undersigned counsel also moves this Court to Order the Court Registry to freeze

any disbursements from the Court Registry for ten (10) days from the date the Court grants the

relief requested herein to allow undersigned counsel sufficient time to prepare and file a motion

and Exhibit under seal setting forth an itemization of expenses and costs incurred to prosecute

this matter.

        Wherefore, in view of the foregoing, undersigned counsel moves this Court to grant the

relief requested herein and enter the proposed Order attached hereto.

                                             Respectfully submitted,


                                             /s/ Keith W. Watters
                                             Keith W. Watters, Esq.
                                             Bar No. 01515
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                                             Counsel for Plaintiff




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                                   CERTIFICATE OF SERVICE

       I hereby certify that on this 25th day of October, 2017, a copy of the foregoing was

served electronically via email and via First Class Mail, postage prepaid to the following:

       Brigitte J. Smith, Esq.
       Maryan Alexander, Esq.
       WILSON ELSER
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       Baltimore, MD 21202
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       Counsel for Defendant J.C. Penney Corporation, Inc.

and by First Class mail only to:

       Keith Campbell, pro se
       2916 7th Street, N.E.
       Apartment 3
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                                             /s/ Keith W. Watters
                                             Keith W. Watters




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